                                   1

                                   2

                                   3

                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     JUAN MOLINA,                                          Case No. 19-cv-08333-EMC
                                   8                       Plaintiff,
                                                                                               ORDER OF TRANSFER
                                   9                v.
                                                                                               Docket No. 1
                                  10     RALPH DIAZ, et al.,
                                  11                       Defendants.

                                  12
Northern District of California
 United States District Court




                                  13             Plaintiff, an inmate at Ironwood State Prison in Blythe, filed this pro se civil rights action
                                  14   under 42 U.S.C. § 1983, complaining about events and omissions that occurred at that prison.
                                  15   Blythe is in Riverside County, within the venue of the Central District of California. All but one
                                  16   of the defendants work at the prison in Blythe and apparently reside in the Central District of
                                  17   California. No defendant is alleged to reside in, and none of the events or omissions giving rise to
                                  18   the complaint are alleged to have occurred in, the Northern District. Venue therefore would be
                                  19   proper in the Central District, and not in this one. See 28 U.S.C. § 1391(b). Accordingly, in the
                                  20   interest of justice and pursuant to 28 U.S.C. § 1406(a), this action is TRANSFERRED to the
                                  21   United States District Court for the Central District of California. The Clerk shall transfer this
                                  22   matter.
                                  23             IT IS SO ORDERED.
                                  24

                                  25   Dated: March 11, 2020
                                  26
                                  27                                                       ______________________________________
                                                                                            EDWARD M. CHEN
                                  28                                                        United States District Judge
